Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 1 of 41 PageID #: 1




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY


MICHAEL J. ROSE, on Behalf of All Others
Similarly Situated,                                    Civil Action No.: 3:08-cv-236-JBC

                             Plaintiff,

               -against-

HUMANA INC., MICHAEL B.
McCALLISTER, JAMES H. BLOEM, DAVID                     CLASS ACTION COMPLAINT
A. JONES, JR., FRANK A. D’AMELIO, W.                   FOR VIOLATIONS OF ERISA
ROY DUNBAR, KURT J. HILZINGER,
WILLIAM J. McDONALD, JAMES J.
O’BRIEN, W. ANN REYNOLDS and JOHN
DOES 1-10 (BEING CURRENT AND
FORMER MEMBERS OF THE
ADMINISTRATIVE COMMITTEE OF
HUMANA INC. RETIREMENT AND
SAVINGS PLAN),

                             Defendants.


       Plaintiff Michael J. Rose (“Plaintiff”), individually and on behalf of all other

persons similarly situated, alleges the following based upon the investigation by

Plaintiff’s counsel, which included, inter alia, a review of public documents filed by

Humana Inc. (“Humana” or the “Company”) with the United States Securities and

Exchange Commission (“SEC”) and the United States Department of Labor (“DOL”),

conference calls and announcements made by defendants, securities analysts’ reports,

wire and press releases published by and regarding the Company, and other publicly

available information.

                                  INTRODUCTION

       1.      This is a class action brought pursuant to §§ 502(a)(2) and (a)(3) of the

Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1132(a)(2) and

(a)(3), on behalf of the Humana Retirement and Savings Plan and the Humana Puerto Rico
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 2 of 41 PageID #: 2




1165(e) Retirement Plan (collectively, the “Plans”), against the Plans’ fiduciaries,

including Humana.

       2.       Plaintiff alleges that Defendants, as fiduciaries of the Plans, breached their

duties to him and to the other participants and beneficiaries of the Plans in violation of

ERISA, particularly with regard to the Plans’ holdings of Humana stock.

       3.       During the Class Period (as defined below), Defendants knew or should

have known that Humana stock was an imprudent investment alternative for the Plans.

Defendants had intimate knowledge of, and an active role in, the improper activities that

allowed Humana to artificially inflate and manipulate the Company’s earnings.

       4.       This action seeks relief on behalf of the Plans, for losses to the Plans, for

which Defendants are personally liable pursuant to ERISA §§ 409 and 502(a)(2), 29

U.S.C. §§ 1109, and 1132(a)(2). In addition, under § 502(a)(3) of ERISA, 29 U.S.C. §

1132(a)(3)), Plaintiff seeks other relief from Defendants, including, without limitation,

injunctive relief and, as available under applicable law, constructive trust, restitution, and

other monetary relief.

       5.       Because Plaintiff’s claims apply to the participants and beneficiaries as a

whole, and because ERISA authorizes participants such as Plaintiff to sue for breaches of

fiduciary duty on behalf of the Plans, Plaintiff brings this as a class action on behalf of all

participants and beneficiaries of the Plans during the Class Period.




                                               2
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 3 of 41 PageID #: 3




                              JURISDICTION AND VENUE

       6.       Subject Matter Jurisdiction. This Court has subject matter jurisdiction

over this action pursuant to 28 U.S.C. § 1331 and ERISA § 502(e)(1), 29 U.S.C. §

1132(e)(1).

        7.       Personal Jurisdiction.      ERISA provides for nation-wide service of

process. ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2). As all Defendants are either

residents of the United States or subject to service in the United States, this Court has

personal jurisdiction over them.

       8.       Venue. Venue is proper in this district pursuant to ERISA § 502(e)(2), 29

U.S.C. § 1132(e)(2), because the Plans are administered in this district, some or all of the

fiduciary breaches for which relief is sought occurred in this district, and/or some

Defendants reside and/or transact business in this district.

                                          PARTIES

        A.      Plaintiff

       9.       Plaintiff was an employee of Humana during the Class Period and

continues to be a Plan participant, within the meaning of ERISA §§ 3(7) and 502(a), 29

U.S.C. §§ 1002(7) and 1132(a). Humana stock was purchased or maintained on his behalf

by means of the Plan in the Humana Stock Fund.

        B.      Defendants

Humana Defendants

       10.       Defendant Humana is a Delaware corporation, with its principal

executive offices located at 500 West Main Street, Louisville, KY 40202.           Humana

provides various health and supplemental benefit plans for employer groups, government




                                               3
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 4 of 41 PageID #: 4




benefit programs, and individuals in the United States. During the Class Period, Humana

common stock traded on the New York Stock Exchange.

       11.      Humana is the Plans’ Sponsor within the meaning of ERISA § 3(16)(B),

29 U.S.C. § 1002(16)(B), and as such, exercises discretionary authority with respect to the

management and administration of the Plans and/or management and disposition of the

Plans’ assets. Humana, at all times, acted through its officers, directors and employees,

including, but not limited to, members of the (i) Board of Directors’ Organization and

Compensation Committee (the “Compensation Committee”), (ii) Board of Directors’

Investment Committee (the “Investment Committee”), and (iii) the Administrative

Committee of the Plans (the “Administrative Committee”), who were appointed by the

Company to perform Plan-related fiduciary functions, and did so in the course and scope

of their services for the Company.

       12.      Humana had, upon information and belief, at all applicable times,

effective control over the activities of its officers and employees, including their Plan-

related activities. Through its Board of Directors (the “Board”), or otherwise, Humana

had the authority and discretion to hire and terminate said officers and employees.

Humana also had the authority and discretion to appoint, monitor and remove officers and

employees from their individual fiduciary roles with respect to the Plans.

       13.      Additionally, by failing to properly discharge their fiduciary duties under

ERISA, the officer, director, and employee fiduciaries breached duties they owed to the

Plans’ participants and their beneficiaries. Accordingly, the actions of the Plans’ officers,

directors, and other employee fiduciaries are imputed to Humana under the doctrine of

respondeat superior, and Humana is liable for these actions.




                                              4
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 5 of 41 PageID #: 5




        14.     Defendant Michael B. McCallister (“McCallister”) has served as

President, Chief Executive Officer and a director of Humana since February 2000.

McCallister signed Humana’s relevant SEC filings during the Class Period, participated in

the day-to-day management and overall direction of the Company, participated in the

preparation of the statements alleged herein to be false, and communicated both directly

and indirectly with Plans’ participants. McCallister was privy to confidential proprietary

information concerning the Company and its business, operations, products, growth,

financial statements, and financial condition.

        15.     Defendant James H. Bloem (“Bloem”) has served as Senior Vice

President, Chief Financial Officer and Treasurer of Humana since February 2001. Bloem

signed Humana’s relevant SEC filings during the Class Period, including the Company’s

Forms 11-K, participated in the day-to-day management and overall direction of the

Company, participated in the preparation of the statements alleged herein to be false, and

communicated both directly and indirectly with Plans’ participants. Bloem was privy to

confidential proprietary information concerning the Company and its business, operations,

products, growth, financial statements, and financial condition.

Director Defendants

        16.     Defendant David A. Jones, Jr. (“Jones”) has served as Chairman of the

Board since April 2005, having served as Vice Chairman of the Board since September

1996.

        17.     Defendant Frank A. D’Amelio (“D’Amelio”) has served as a director of

Humana since September 2003.




                                                 5
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 6 of 41 PageID #: 6




       18.      Defendant W. Roy Dunbar (“Dunbar”) has served as a director of

Humana since April 2005.

       19.      Defendant Kurt J. Hilzinger (“Hilzinger”) has served as a director of

Humana since July 2003.

       20.      Defendant William J. McDonald (“McDonald”) has served as a director

of Humana since October 2007.

       21.      Defendant James J. O’Brien (“O’Brien”) has served as a director of

Humana since April 2006.

       22.      Defendant W. Ann Reynolds (“Reynolds”) has served as a director of

Humana since January 1991.

       23.      Defendants McCallister, Jones, D’Amelio, Dunbar, Hilzinger, McDonald,

O’Brien and Reynolds shall be referred to collectively herein as the Director Defendants.

       24.      The Board, upon information and belief, has primary fiduciary oversight

of the Plans. The Director Defendants are fiduciaries of the Plans within the meaning of

ERISA in that they exercise discretionary authority with respect to: (i) the management

and administration of the Plans; and/or (ii) the management and disposition of the Plans’

assets; and/or (iii) appointing, monitoring, and removing the Plans’ fiduciaries.

       25.      Because of the Director Defendants’ position, they knew the adverse

non-public information about the business of Humana, as well as its finances, markets and

present and future business prospects, via access to internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at

Board meetings and committees thereof and via reports and other information provided to

them in connection therewith.




                                              6
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 7 of 41 PageID #: 7




       26.      During the Class Period, the Director Defendants participated in the

issuance of false and/or misleading statements, including the preparation of the false

and/or misleading press releases and SEC filings.

 Compensation Committee Defendants

       27.      Defendant Hilzinger, in addition to being a member of the Board, served

as the Chairman of the Compensation Committee, at all relevant times.         As such,

Defendant Hilzinger was a fiduciary of the Plans within the meaning of ERISA in that he

exercised discretionary authority with respect to management and administration of the

Plans and/or management and disposition of the Plans’ assets.

       28.      Defendants Dunbar and McDonald, in addition to being members of the

Board, served as members of the Compensation Committee, and as such were fiduciaries

of the Plans within the meaning of ERISA, in that they exercised discretionary authority

with respect to management and administration of the Plans and/or management and

disposition of the Plans’ assets.

       29.      In addition to the Board collectively, the Compensation Committee, upon

information and belief, is also a fiduciary of the Plans. According to the Compensation

Committee’s charter, available on Humana’s corporate website, the Compensation

Committee is charged with, inter alia, “[a]dminister[ing] the Company’s equity

compensation programs, including stock option(s) and restricted stock.”             The

Compensation Committee and its members therein are fiduciaries of the Plans within the

meaning of ERISA in that they exercise discretionary authority with respect to

management and administration of the Plans and/or management and disposition of the

Plans’ assets. Further, each member of the Compensation Committee, by virtue of their




                                            7
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 8 of 41 PageID #: 8




committee position, was a member of the Board and therefore also had fiduciary

responsibility to the Plans and their participants in that regard.

Investment Committee Defendants

       30.      Defendant Dunbar, in addition to being a member of the Board, served as

the Chairman of the Investment Committee, at all relevant times. As such, Defendant

Dunbar was a fiduciary of the Plans within the meaning of ERISA in that he exercised

discretionary authority with respect to management and investment of the Plans’ assets.

       31.      Defendants D’Amelio and O’Brien, in addition to being members of the

Board, served as members of the Investment Committee, and as such were fiduciaries of

the Plans within the meaning of ERISA, in that they exercised discretionary authority with

respect to management and investment of the Plans’ assets.

       32.      In addition to the Board collectively, the Investment Committee, upon

information and belief, is also a fiduciary of the Plans. According to the Investment

Committee’s charter, available on Humana’s corporate website, the Investment Committee

is responsible for, inter alia, “(1) [e]stablishing…investment options available under the

Company’s employee benefit plans; (2) [r]eviewing investment performance of the

…employee benefit plans.” The Investment Committee’s charter further provides that

“[t]he primary function of the Investment Committee is to assist the Board of Directors in

establishing investment objectives and policies for the Company’s investment portfolios

and employee benefit plans.” The Investment Committee Defendants were fiduciaries of

the Plans within the meaning of ERISA in that they exercised discretionary authority and

discretionary control with respect to the Plans’ management, administration, investments,

and assets.




                                                8
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 9 of 41 PageID #: 9




Administrative Committee Defendants

       33.      Defendants John Does 1-10 (the “Administrative Committee

Defendants”), at all relevant times, served as members of the Administrative Committee.

       34.      At all relevant times, the Administrative Committee Defendants were,

upon information and belief, all employees, officers, or directors of Humana.             The

Administrative Committee Defendants were fiduciaries of the Plans within the meaning of

ERISA in that they exercised discretionary authority and discretionary control with respect

to the Plans’ management, administration, investments, and assets.

                                        THE PLANS

        A.      Nature of the Plans

        35.     The Plans are “employee pension benefit plan[s]” within the meaning of

ERISA § 3(2)(A), 29 U.S.C. § 1002(2)(A) and defined contribution plans within the

meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

        36.     The Plans are legal entities that can sue or be sued. ERISA § 502(d)(1),

29 U.S.C. § 1132(d)(1). However, in a breach of fiduciary duty action such as this, the

Plans are neither plaintiffs nor defendants. Rather, pursuant to ERISA § 409, 29 U.S.C.

§1109, and the law interpreting it, the relief requested in this action is for the benefit of

the Plans. Stated differently, in this action Plaintiff seeks relief that is plan-wide.

        37.     The Plans cover eligible employees of Humana and its subsidiaries.

        38.     According to the Company’s Forms 11-K for the fiscal year ended

December 31, 2006 (the “2006 Forms 11-K”), under the terms of both Plans, Humana’s

matching contribution amounts to 50% of any given participant’s contribution up to 6%

of eligible compensation contributed to the Plans. All matching contributions are funded

to the participants’ Plan accounts on a bi-weekly basis and are invested in the Humana


                                               9
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 10 of 41 PageID #: 10




 Stock Fund. The 2006 Forms 11-K further provide that after the completion of two years

 of service, Humana makes annual contributions to any given participant’s plan account.

 For the Plan years ended December 31, 2006 and 2005, Humana made an allocation to

 the participants based on an amount equal to 4% of each participant’s qualifying

 compensation earned during the Plan year, plus 4% of any compensation exceeding the

 social security taxable wage base.

         B.        Defendants’ Fiduciary Status

        39.        Named Fiduciaries. ERISA requires every plan to provide for one or

 more named fiduciaries of the plan pursuant to ERISA § 402(a)(1), 29 U.S.C. §

 1002(21)(A).      The person named as the “administrator” in the plan instrument is

 automatically a named fiduciary, and in the absence of such a designation, the sponsor is

 the administrator. ERISA § 3(16)(A), 29 U.S.C. § 1002(16)(A).

        40.        De Facto Fiduciaries.     ERISA treats as fiduciaries not only persons

 explicitly named as fiduciaries under ERISA § 402(a)(1), but also any other persons who

 in fact perform fiduciary functions. Thus, a person is a fiduciary to the extent he or she

 “(i) exercises any discretionary authority or discretionary control respecting management

 of such plan or exercises any authority or control respecting management of disposition of

 its assets, (ii) renders investment advice for a fee or other compensation, direct or indirect,

 with respect to any moneys or other property of such plan, or has any authority or

 responsibility to do so, or (iii) has any discretionary authority or discretionary

 responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C. §

 1002(21)(A)(i).




                                               10
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 11 of 41 PageID #: 11




        41.      Each of the Defendants was a fiduciary with respect to the Plans and owed

 fiduciary duties to the Plans and the Plans’ participants under ERISA in the manner and to

 the extent set forth in the Plans’ documents, through their conduct, and under ERISA.

        42.      As fiduciaries, Defendants were required by ERISA § 404(a)(1), 29

 U.S.C. § 1104(a)(1) to manage and administer the Plans, and the Plans’ investments solely

 in the interest of the Plans’ participants and beneficiaries and with the care, skill,

 prudence, and diligence under the circumstances then prevailing that a prudent man acting

 in a like capacity and familiar with such matters would use in the conduct of an enterprise

 of a like character and with like aims.

        43.      Plaintiff does not allege that each Defendant was a fiduciary with respect

 to all aspects of the Plans’ management and administration. Rather, as set forth below,

 Defendants were fiduciaries to the extent of the specific fiduciary discretion and authority

 assigned to or exercised by each of them, and, as further set forth below, the claims

 against each Defendant are based on such specific discretion and authority.

        44.      ERISA permits the fiduciary functions to be delegated to insiders without

 an automatic violation of the rules against prohibited transactions, ERISA § 408(c)(3), 29

 U.S.C. § 1108(c)(3), but insider fiduciaries must still in fact act solely in the interest of

 participants and beneficiaries, not in the interest of the sponsor. Moreover, all Plans’

 fiduciaries were obliged, when wearing their fiduciary hat(s) to act independently of

 Humana which had no authority to direct the conduct of any of them with respect to the

 Plans, the Plans’ investments, or the disclosure of information between and among

 fiduciaries or from fiduciaries to the Plans’ participants.




                                                11
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 12 of 41 PageID #: 12




         C.      Defendants’ Fiduciary Roles

        45.      As previously stated, Humana is the Plans’ Sponsor.

        46.      Upon information and belief, the Plans’ documents describe Humana, the

 Board, the Compensation Committee, the Investment Committee and the Administrative

 Committee as named fiduciaries of the Plans.

        47.      Upon information and belief, instead of delegating all fiduciary

 responsibility for the Plans to external service providers, Humana chose to internalize at

 least some of these fiduciary functions.

        48.      Upon information and belief, the Plans and their assets are administered

 and managed by the Compensation, Investment and Administrative Committees (the “Plan

 Committees”), selected and monitored by the Board. The Plan Committees exercised

 broad responsibility for management and administration of the Plans and, among their

 other duties, were responsible for oversight of the Plans’ investment options, policies, and

 the performance of the Plans’ investments, as well as the review of investment managers.

        49.      In their capacity to select and monitor investment options for the Plans,

 the Plan Committees had the discretion and authority to suspend, eliminate, or reduce any

 Plan investment, including investments in Humana stock. Upon information and belief,

 the Plan Committees regularly exercised their authority to suspend, eliminate, reduce, or

 restructure the Plans’ investments. The Plan Committees also reported to the Board

 regarding these duties and the Plans’ events pertaining to the same.

        50.      Upon information and belief, the Plan Committees exercised responsibility

 for communicating with participants regarding the Plans, and providing participants with

 information and materials required by ERISA. In this regard, on behalf of Humana and




                                              12
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 13 of 41 PageID #: 13




 the Director Defendants, the Plan Committees disseminated the Plans’ documents and

 materials.

          51.      The Director Defendants are the Plans’ fiduciaries to the extent they

 exercised their authority to select, monitor, retain, and remove the members of the Plan

 Committees and, accordingly, exercised authority and oversight over the Plan

 Committees, which reported to the Board regarding the Plan Committees’ fiduciary duties

 and responsibilities to the Plans and with respect to their actions pertaining to the same.

          52.       Therefore, the participation in and knowledge of Humana=s inappropriate

 and potentially unlawful practices by Defendants as alleged herein is imputed and

 attributed to Humana, the Plan Committees, and the Director Defendants.

                               CLASS ACTION ALLEGATIONS

          53.      Plaintiff brings this action as a class action pursuant to Rules 23(a), (b)(1),

 (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of himself and the

 following class of persons similarly situated (the “Class”):

          54.      All persons who were participants in or beneficiaries of the Plans at any

 time during the Class Period, i.e., between September 1, 2007 and the present, and whose

 accounts included investments in Humana stock.

          55.      The members of the Class are so numerous that joinder of all members is

 impracticable. While the exact number of Class members is unknown to Plaintiff at this

 time, and can only be ascertained through appropriate discovery, Plaintiff believes there

 are, at a minimum, thousands of members of the Class who participated in, or were

 beneficiaries of, the Plans during the Class Period.1


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     According to the Company’s Forms 5500 for the year ended December 31, 2006, there were a total of
     21,994 participants of both Plans at the end of the plan year.


                                                   13
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 14 of 41 PageID #: 14




        56.      Common questions of law and fact exist as to all members of the Class

 and predominate over any questions affecting solely individual members of the Class.

 Among the questions of law and fact common to the Class are:

         (a)     whether Defendants each owed a fiduciary duty to Plaintiff and other

 Class members;

         (b)     whether Defendants breached their fiduciary duties to Plaintiff and other

 Class members by failing to act prudently and solely in the interests of the Plans’

 participants and beneficiaries;

         (c)     whether Defendants violated ERISA; and

         (d)     whether the Class members have sustained damages and, if so, the proper

 measure of those damages.

        57.      Plaintiff’s claims are typical of the claims of the other Class members

 because Plaintiff and the other Class members each sustained damages arising out of the

 Defendants’ wrongful conduct in violation of federal law as complained of herein.

        58.      Plaintiff will fairly and adequately protect the interests of the Class

 members and has retained counsel competent and experienced in class action, complex,

 and ERISA litigation. Plaintiff has no interests antagonistic to or in conflict with those of

 the Class.

        59.      Class action status in this ERISA action is warranted under Rule

 23(b)(1)(B) because prosecution of separate actions by the members of the Class would

 create a risk of adjudications with respect to individual members of the Class which

 would, as a practical matter, be dispositive of the interests of the other members not




                                              14
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 15 of 41 PageID #: 15




 parties to the actions, or substantially impair or impede their ability to protect their

 interests.

         60.     Class action status is also warranted under the other subsections of Rule

 23(b) because: (i) prosecution of separate actions by the members of the Class would

 create a risk of establishing incompatible standards of conduct for Defendants; (ii)

 Defendants have acted or refused to act on grounds generally applicable to the Class,

 thereby making appropriate final injunctive, declaratory, or other appropriate equitable

 relief with respect to the Class as a whole; and (iii) questions of law or fact common to

 members of the Class predominate over any questions affecting only individual members

 and a class action is superior to the other available methods for the fair and efficient

 adjudication of this controversy.

                               SUBSTANTIVE ALLEGATIONS

      I. Company Background

         61.     According to the Company’s 10-K Report for the fiscal year ended

 December 31, 2007 (the “2007 Form 10-K”), Humana, founded in 1964, is “a full service

 benefits solutions company, offering a wide array of health and supplemental benefit plans

 for employer groups, government benefit programs, and individuals.” The Company’s

 2007 Form 10-K further provides that “as of December 31, 2007, we had approximately

 11.5 million members in our medical benefit plans, as well as approximately 6.8 members

 in our specialty products.”

         62.     Humana operates in two segments, Government and Commercial. The

 Government segment includes beneficiaries of government benefit programs, including:

 (1) Medicare, a federal program that provides hospital and medical insurance benefits to

 persons of age 65 and over, and some disabled persons under the age of 65; (2) Military


                                             15
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 16 of 41 PageID #: 16




 Services, that provides health insurance coverage to the dependents of active duty military

 personnel, retired military personnel and their dependents; and (3) Medicaid, a federal

 program that facilitates the delivery of health care services primarily to low-income

 residents.

        63.     Humana’s Commercial segment consists of members enrolled in its

 medical and specialty products marketed to employer groups and individuals. Its products

 comprise consumer products, such as Health Maintenance Organization (HMO) products

 that provide prepaid health insurance coverage to its members through a network of

 independent primary care physicians, specialty physicians, and other health care providers;

 Preferred Provider Organization (PPO) products, that are offered primarily to employer

 groups and individuals; and Administrative Services Only (ASO) products offered to

 employers who self-insure their employee health plans. The Commercial segment also

 provides various specialty products, including dental, vision, and other supplemental

 products.


     II. Defendants Failed to Provide Complete and Accurate Information to Plan
          Participants Regarding Humana’s Improper Business Activities, While
          Continuing to Invest the Plans’ Assets in Humana Stock, When It Was No
          Longer A Prudent Investment for the Plans

        64.     During the Class Period, in order to maintain the Company’s image as a

 steady earnings performer and as having strong financial growth, Humana persistently

 overstated its earnings estimates and failed to inform Plans’ participants that the Company

 had mispriced its stand-alone Medicare Prescription Drug Plan (“PDPs”) and that the

 Company’s PDP-related costs had increased significantly. The eventual disclosure of

 Humana’s true state of business affairs caused a precipitous decline in the price of the




                                             16
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 17 of 41 PageID #: 17




 Company stock and the consequent detrimental impact to the value of Plan accounts of

 Plaintiff and other Class members.

        65.      On September 30, 2007, Humana issued its earnings release, made part of

 its Form 8-K filing with the SEC (the “September 30, 2007 Form 8-K”), for the fiscal

 third-quarter 2007, and guidance for full fiscal years 2007 and 2008, including expected

 earnings-per-share (“EPS”). The Company informed the investors in its September 30,

 2007 Form 8-K that:

                 [T]he company’s 3Q07 performance was also $0.05 per
                 share better than expected due to ongoing improvements in
                 the company’s Commercial operations and stand-alone
                 Medicare Prescription Drug Plans (PDPs) that are expected
                 to positively impact fourth quarter 2007 and full-year 2008
                 results.

                 [T]he company also projects EPS for the year ending
                 December 31, 2008 (FY08E) to be in the range of $5.30 to
                 $5.50, an increase of 10 to 16 percent over FY07E EPS, or
                 16 to 22 percent (a)(c) versus the non-GAAP EPS for
                 FY07E.

                 “Strong performance in both our business segments fueled
                 a successful third quarter,” said Michael B. McCallister,
                 Humana’s president and chief executive officer. “Most
                 importantly, the quarter positioned us well to extend our
                 industry-leading growth in both revenues and earnings
                 through 2008 and beyond.”

        66.      On January 9, 2008, Humana reiterated its EPS guidance of $5.30 to

 $5.50 for full fiscal year 2008 in its Form 8-K filing with the SEC, reporting that:

                 On January 9, 2008, officers of Humana Inc. will be
                 meeting with investors and analysts at an industry
                 conference. During the meetings, the Company intends to
                 address its prospects its performance and will reaffirm the
                 Company’s earnings per share guidance for the full year
                 2008 of $5.30 to $5.50 . . .      Gross sales for Medicare
                 Advantage to date for 2008 are on track with the
                 Company’s expectations, while gross sales for stand-alone



                                              17
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 18 of 41 PageID #: 18




                 Prescription Drug      Plans     are    somewhat   ahead   of
                 expectations.

        67.      On February 4, 2008, Humana filed with the SEC its Form 8-K and a

 related press release reporting its financial results for the fiscal fourth-quarter 2007 and

 raising its earnings estimates for the full fiscal year 2008. The Company announced that it

 now expected EPS in the range of $5.35 to $5.55 for full fiscal year 2008, while EPS for

 the first quarter of 2008 was expected to be in the range of $0.80 to $0.85.

        68.      On a conference call, conducted later that same day, Defendants reiterated

 the Company’s anticipated EPS for 2008.             Commenting on the Company’s outlook,

 Defendant McCallister assured investors that:

                 As Jim Bloem will explain, we anticipate $0.05 per share
                 additional 2008 benefit due to the lower 2007 effective tax
                 rate. Accordingly this morning we raised our 200[8]
                 earnings per share guidance to a range of $5.35 to $5.55,
                 with continued membership growth and strong operational
                 execution driving these results.

                                                ***

                 We believe the 2007 achievements just described position
                 us well for 2008, both in terms of the existing environment
                 and future trends.

        69.      Defendant Bloem also commented positively regarding the Company’s

 prospects in the upcoming year:

                 The primary factor driving this less-pronounced pattern is
                 the composition of our 2008 PDP membership, which has
                 changed from last year. We have nearly 300,000 fewer
                 low-income senior members effective January 1, with a
                 higher percentage of non-low-income seniors in our
                 Enhanced Plan and a lower percentage of non-low-income
                 senior members in the Complete plan. The decline in the
                 percentage of low-income members is particularly relevant
                 in analyzing the quarterly patterns, because these seniors
                 have a steeper declining slope to their quarterly benefits



                                                18
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 19 of 41 PageID #: 19




                 ratio progression versus the remaining Part D members,
                 with the first quarter ratio much higher on low incomes
                 than the overall average and the fourth quarter much lower.
                 Consequently, our lower membership in the low-income
                 block is anticipated to lower the quarterly benefits ratio
                 pattern in the first half of the year and raise it slightly in the
                 back half of the year compared to 2007.

                                               ***

                 So here is the two fold take away. The composition of our
                 PDP membership will have a significant impact on the
                 quarterly pattern of our Medicare benefits ratio without
                 necessarily impacting the full year ratio. And then
                 secondly, the 2008 quarterly Medicare benefits ratio pattern
                 is expected to drive our quarterly earnings per share for this
                 year.

                                               ***

                 Finally, also as expected, prescription drug trends were in
                 the mid-to high single digits. Based on our ongoing deep-
                 dive analysis of benefit expense trend factors, we do not
                 foresee any significant changes to the components of our
                 cost trends as we move into 2008, as is stated in this
                 morning’s press release. So accordingly, we remain
                 confident of our ability to meet our 2008 Commercial
                 pretax earnings target of $280 million to $300 million and
                 we look forward to sharing our progress with you each
                 quarter.

        70.      Following the Company’s earnings announcement, Carl McDonald, an

 equity analyst at Oppenheimer & Co., wrote that “Humana seems well positioned for EPS

 upside in 2008.”

        71.      On February 12, 2008, Defendant Bloem participated in the UBS Global

 Healthcare Services Conference in New York, NY and again reiterated that the Company

 expected EPS in the range of $5.35 to $5.55 for the full year 2008.




                                                19
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 20 of 41 PageID #: 20




        72.      On February 28, 2008, Defendant McCallister participated in the Merrill

 Lynch Investor Meetings in Toronto, Canada, and also reiterated that the Company

 expected EPS in the range of $5.35 to $5.55 for the full year 2008.

        73.      A mere five weeks later, however, on March 12, 2008, the Company

 stunned investors by issuing a press release headlined “Humana Revises Earnings

 Guidance,” as part if its Form 8-K filing with the SEC (the “March 12, 2008 Form 8-K”),

 announcing that Humana would be revising its earnings estimates. Specifically, Humana

 revealed that its first quarter 2008 EPS were now expected to be in the range of $0.44

 to$0.46, versus previous guidance of $0.80 to $0.85 per share. For the full year 2008, the

 Company now expected EPS to be in the range of $4.00 to $4.25 per share, versus

 previous guidance of $5.35 to $5.55 per share. Humana attributed these revised earnings

 to “updated projections for the company’s FY08 stand-alone PDP financial performance.”

        74.      The March 12, 2008 Form 8-K further explained that:

                 The company’s revised projections for it stand-alone PDP’s
                 financial performance are based upon analysis of pharmacy
                 claims through February 2008. Higher-than-anticipated
                 claims volumes for the stand-alone PDPs year to date are
                 reflective of a combination of factors including:

                   x   Enhanced Plan actuarial assumptions versus
                       experience,
                   x   Enhanced Plan new member experience, and
                   x   Standard Plan member mix.

        75.      Upon this announcement, shares of Humana stock declined $6.50 per

 share from its close at $47.38 on March 11, 2008, to close at $40.88 per share on March

 12, 2008, on extraordinarily high trading volume.




                                              20
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 21 of 41 PageID #: 21




        76.      The same day, commenting on the precipitous decline of Humana stock,

 Bloomberg.com, in an article entitled, “Humana, Following Wellpoint, Cuts Earnings

 Forecast,” reported that:

                 Humana Inc., the second-largest seller of Medicare drug
                 plans…is cutting its 2008 forecast as prescription costs
                 jumped. Humana fell 14 percent, and the selloff of other
                 insurers continued.

                 Humana said expenses soared when it lowered how much
                 patients pay for medicines in a bid to lure new customers
                 age 65 and older into its Medicare prescription plans.
                 Humana is racing to grab market share from UnitedHealth
                 Group Inc., the largest seller of the U.S. – backed drug
                 plans, analysts said.

                 Insurers are struggling to lure new members to boost
                 earnings without letting medical costs outstrip premiums.
                 Humana’s price cuts attracted sicker than expected
                 members into its Medicare plans, the company said today.
                 …

                 “Humana priced their drug plan too low in order to get
                 market share, and we’re seeing the results of that today,”
                 said Sheryl Skolnick, a CRT Capital Group analyst in
                 Stamford, Connecticut, in a telephone interview. “They are
                 offering a plan with zero co-pays for a 90-day supply of
                 generics through RightSource, their mail-order. And when
                 you tell seniors something is free, they keep coming back
                 again and again.”

                                            ***

                 Humana this year miscalculated how many elderly with
                 serious medical conditions would choose its Medicare drug
                 plan, among the cheapest available. The mistake added
                 $160 million to the company’s Medicare drug costs in the
                 first two months of this year, executives said today on a
                 conference call.

                 Humana’s lower premiums and co-payments for its
                 enhanced Medicare drug plan this year attracted 188,000
                 new members on Jan. 1. Drugs for those newer members




                                            21
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 22 of 41 PageID #: 22




                cost about $50 more a month than patients who joined the
                plan in prior years, when it was more expensive.

        77.     The following day, on March 13, 2008, TheMotleyFool.com, in an article

 entitled “Humana’s Hurting,” further elaborated on Humana’s business difficulties:

                Humana’s chart looks like steps in the grand Canyon that
                go down to the Colorado River.

                …Humana dropped another 14% yesterday on news that it
                would nearly halve its… guidance for the first quarter.

                …Humana’s gloomier outlook owes to a miscalculation in
                setting up its Medicare prescription-drug plans.

                When Humana set up the plan, the Centers for Medicare
                and Medicaid Services (CMS) rules required it to lower the
                copayments on drugs because members are allowed to pay
                only a certain percentage of the total costs. But the
                company overestimated the use of high-cost drugs, when it
                should have assumed that members would substitute the
                lower-cost drugs that require lower copayments.

                By lowering the copayments on drugs, Humana shifted
                more of the costs onto itself. That’s bad enough, but the
                situation gets worse. Seniors who were taking high-cost
                medicines and looking for a deal found one in Humana’s
                plans, which further increased its costs.

        78.     The same day, The Wall Street Journal, in an article entitled “Humana

 Cuts Forecast, Shares Tumble,” also reported on Humana’s flawed calculation of its PDP:

                Humana yesterday said its lowered guidance related to its
                Medicare prescription-drug plans. One major problem was
                that in designing its Enhanced plan for 2008 the Louisville,
                Ky., company overestimated how much consumers would
                use drugs that carry higher co-payments. That would have
                led to higher overall out-of-pocket costs for consumers than
                Medicare allows.

                In response, Humana cut the co-pays, which required the
                company to shoulder a greater share of the plan’s drug
                expenses. Meanwhile, the reduced co-pays attracted people




                                            22
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 23 of 41 PageID #: 23




                 with higher drug costs to the Enhanced plan, further
                 increasing Humana’s costs.

        79.      During the Class Period, as described herein, Defendants knew or should

 have known that Humana stock was an imprudent investment for the Plans due to the fact

 that (a) Humana was unable to properly calculate the prescription drug costs of its newly

 acquired PDP members; (b) Humana’s costs associated with its PDPs had dramatically

 increased; and (c) that the Company’s statements concerning Humana’s anticipated EPS

 for the first quarter of 2008 and full year 2008 were lacking in a reasonable basis at all

 relevant times and were therefore materially false and misleading. As a result of these

 undisclosed facts, Humana=s stock price was artificially inflated making it an imprudent

 investment for the Plans.

        80.      Upon information and belief, Humana regularly communicated with

 employees, including Plans’ participants, about the Company’s performance, future

 financial and business prospects and Humana stock. During the Class Period, upon

 information and belief, the Company fostered a positive attitude toward Humana stock as

 a Plan investment, and/or allowed Plans’ participants to follow their natural bias toward

 remaining invested in the stock of their employer, even after divestiture was possible, by

 not disclosing negative material information concerning investment in Humana stock. As

 such, Plans’ participants could not appreciate the true risks presented by investments in

 Humana stock and therefore could not make informed decisions regarding their

 investments in the Plans.




                                             23
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 24 of 41 PageID #: 24




                                    CAUSES OF ACTION

                                            COUNT I

                              Failure to Prudently and Loyally
                             Manage the Plans and Plans’ Assets

      (Breaches of Fiduciary Duties in Violation of ERISA § 404 by All Defendants)

         81.     Plaintiff incorporates the allegations contained in the previous paragraphs

 of this Complaint as if fully set forth herein.

          82.    At all relevant times, as alleged above, Defendants were named fiduciaries

 pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or de facto fiduciaries within the

 meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, they were bound

 by the duties of loyalty, exclusive purpose, and prudence.

          83.    As alleged above, Defendants were all responsible, in different ways and

 to differing extents, over management of the Plans or disposition of the assets of the

 Plans and were, during the Class Period, responsible for ensuring that the Plans’

 investment options, including Humana Stock Fund, made available to participants in the

 Plans, were prudent and are liable for losses incurred as a result of such investments

 being imprudent.

          84.    Additionally, pursuant to ERISA, fiduciaries are required to disregard plan

 documents or directives they know or reasonably should know would lead to an

 imprudent result or would otherwise harm plan participants or beneficiaries. ERISA §

 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D). Thus, fiduciaries may not blindly follow plan

 documents or directives that would lead to an imprudent result or that would harm plan

 participants or beneficiaries, nor allow others, including those whom they direct or who

 are directed by the plan, including plan trustees, to do so.



                                                   24
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 25 of 41 PageID #: 25




        85.      Defendants were obligated to discharge their duties with respect to the

 Plans with the care, skill, prudence, and diligence under the circumstances then prevailing

 that a prudent person acting in a like capacity and familiar with such matters would use in

 the conduct of an enterprise of a like character and with like aims. ERISA § 404(a)(1)(B),

 29 U.S.C. § 1104(a)(1)(B).

        86.      According to the DOL regulations and case law interpreting ERISA § 404,

 a fiduciary’s investment or investment course of action is prudent if: a) he or she has

 given appropriate consideration to those facts and circumstances that, given the scope of

 such fiduciary's investment duties, the fiduciary knows or should know are relevant to the

 particular investment or investment course of action involved, including the role the

 investment or investment course of action plays in that portion of the plan's investment

 portfolio with respect to which the fiduciary has investment duties; and b) he or she has

 acted accordingly.

        87.      Again, according to DOL regulations, “appropriate consideration” in this

 context includes, but is not necessarily limited to:

         x    A determination by the fiduciary that the particular investment or investment

              course of action is reasonably designed, as part of the portfolio (or, where

              applicable, that portion of the plan portfolio with respect to which the

              fiduciary has investment duties), to further the purposes of the plan, taking

              into consideration the risk of loss and the opportunity for gain (or other return)

              associated with the investment or investment course of action; and

         x    Consideration of the following factors as they relate to such portion of the

              portfolio:




                                               25
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 26 of 41 PageID #: 26




                o The composition of the portfolio with regard to diversification;

                o The liquidity and current return of the portfolio relative to the

                     anticipated cash flow requirements of the plan; and

                o The projected return of the portfolio relative to the funding objectives

                     of the plan.

       88.      Given the conduct of the Company as described above, Defendants could

 not possibly have acted prudently when they continued to invest the Plans’ assets in

 Humana stock because, among other reasons:

        x    Defendants knew of and/or failed to investigate the mispricing of Company’s

             PDPs;

        x    Defendants knew of and/or failed to investigate the increased costs of the

             Company’s PDPs and the effect of the increased costs on Humana’s

             operations;

        x    The risk associated with the investment in Humana’s stock during the Class

             Period was an extraordinary risk, far above and beyond the normal, acceptable

             risk associated with investment in company stock;

        x    This abnormal investment risk could not have been known by the Plans’

             participants, and Defendants were aware or should have been aware that it

             was unknown to them (as it was to the market generally), because the

             fiduciaries never disclosed it; and

        x    Knowing of this extraordinary risk, and knowing the participants were not

             aware of it, Defendants had a duty to avoid permitting the Plans or any

             participant from investing Plans’ assets in Humana stock.



                                              26
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 27 of 41 PageID #: 27




          89.    Defendants breached their duties to prudently and loyally manage the

 Plans’ assets. During the Class Period, Defendants knew or should have known that

 Humana stock was not a suitable and appropriate investment for the Plans as described

 herein. Nonetheless, during the Class Period, Defendants continued to invest the Plans’

 assets in Humana stock and to direct and approve the ongoing, automatic investment of

 the future Company contributions in Humana stock, instead of other, more suitable,

 investments.     Moreover, during the Class Period, despite their knowledge of the

 imprudence of the investment, Defendants failed to take adequate steps to prevent the

 Plans, and indirectly the Plans’ participants and beneficiaries, from suffering losses as a

 result of the Plans’ investment in Humana stock

         90.     As a direct and proximate result of the breaches of fiduciary duties alleged

 herein, the Plans, and indirectly Plaintiff and the Plans’ other participants and

 beneficiaries, lost a significant portion of their retirement investment.

         91.     Pursuant to ERISA §§ 409 and 502(a)(2) and (a)(3), 29 U.S.C. §§ 1109(a)

 and 1132(a)(2) and (a)(3), the Defendants named in this count, are liable to restore the

 losses to the Plans caused by their breaches of fiduciary duties alleged in this Count and to

 provide other equitable relief as appropriate.

                                           COUNT II

                          Failure to Provide Complete and Accurate
                        Information to Participants and Beneficiaries

        (Breaches of Fiduciary Duties in Violation of ERISA §§ 404 and 405 by All
                                       Defendants)

         92.     Plaintiff incorporates the allegations contained in the previous paragraphs

 of this Complaint as if fully set forth herein.




                                                   27
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 28 of 41 PageID #: 28




        93.      As alleged above, during the Class Period, all Defendants were named

 fiduciaries pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or de facto fiduciaries

 within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, they

 were bound by the duties of loyalty, exclusive purpose, and prudence.

        94.      As alleged above, the scope of the fiduciary responsibilities of all

 Defendants, to differing extents, included disseminating Plans’ documents and/or Plan-

 related information to participants regarding the Plans and/or assets of the Plans.

        95.      The duty of loyalty under ERISA required Defendants to speak truthfully

 to participants, not to mislead them regarding the Plans or the Plans’ assets, and to

 disclose information that participants need in order to exercise their rights and interests

 under the Plans.

        96.         This duty to inform participants includes an obligation to provide

 participants and beneficiaries of the Plans with complete and accurate information, and to

 refrain from providing false information or concealing material information regarding the

 prudence of maintaining investment in the Plans, so that participants can make informed

 decisions with regard to their investment options available under the Plans.

        97.      This fiduciary duty to honestly communicate with participants is designed

 not merely to inform participants and beneficiaries of conduct, including potentially illegal

 conduct, bearing on their retirement savings, but also to forestall such misconduct in the

 first instance. By failing to discharge their disclosure duties, Defendants facilitated the

 misconduct in the first instance.

        98.      Defendants breached their fiduciary duties by failing to provide the Plans’

 participants with complete and accurate information regarding the Company’s mispricing




                                               28
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 29 of 41 PageID #: 29




 of its PDPs, the rising costs associated with the PDPs and, generally, by conveying

 inaccurate information regarding the soundness of the Company’s financial health and the

 prudence of investing retirement contributions in the Company stock.

        99.      Had the Defendants not constantly reinforced the safety, stability and

 prudence of investment in Humana stock during the Class Period, Plans’ participants, to

 the extent they were permitted, could have divested their holdings of Company stock in

 the Plans or at least diversified such holdings, thereby mitigating the Plans’ losses.

        100.     Defendants in this Count are also liable as co-fiduciaries because they

 knowingly participated in and knowingly undertook to conceal the failure of the other

 fiduciaries to provide complete and accurate information regarding Humana stock, despite

 knowledge of their breaches. Further, they enabled such conduct as a result of their own

 failure to satisfy their fiduciary duties and as a result of having knowledge of the other

 fiduciaries’ failures to satisfy their duty to provide only complete and accurate information

 to Plans’ participants, yet not making any effort to remedy the breaches.

        101.     Where     a   breach   of   fiduciary   duty   consists   of,   or   includes,

 misrepresentations and omissions material to a decision by a reasonable plan participant

 that results in harm to the participant, the participant is presumed as a matter of law to

 have relied upon such misrepresentations and omissions to his or her detriment. Here, the

 above-described statements, acts and omissions of the Defendants in this Count

 constituted misrepresentations and omissions that were fundamentally deceptive

 concerning (a) the pricing of the Company’s PDPs, (b), the rising costs associated with the

 Company’s PDPs, (c) the Company’s earnings guidance for first quarter of 2008 and full

 year 2008, and (d) prudence of investing the Plans’ assets in Humana stock, and were




                                               29
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 30 of 41 PageID #: 30




 material to any reasonable person’s decision about whether or not to invest or maintain

 any part of their retirement assets in Humana Stock Fund during the Class Period.

 Plaintiff and the other Class members are therefore presumed to have relied to their

 detriment on the misleading statements, acts, and omissions of Defendants named in this

 Count.

          102.    Plaintiff further contends that the Plans suffered a loss, and Plaintiff and

 the other Class members suffered losses, by the above-described conduct of Defendants

 named in this Count during the Class Period because that conduct fundamentally deceived

 Plaintiff and the other Class members about the prudence of making and maintaining

 retirement investments in Humana stock, and that, in making and maintaining investments

 in Humana stock, Plaintiff and the other Class members relied to their detriment upon the

 materially deceptive and misleading statements, acts and omissions of Defendants named

 in this Count.

          103.    As a consequence of Defendants’ breaches of fiduciary duty, the Plans

 suffered tremendous losses.       If Defendants had discharged their fiduciary duties to

 prudently disclose material information, the losses suffered by the Plans would have been

 minimized or avoided. Therefore, as a direct and proximate result of the breaches of

 fiduciary duty alleged herein, the Plans, and indirectly Plaintiff and the other Plans’

 participants, lost a significant portion of their retirement savings.

          104.    Pursuant to ERISA §§ 409 and 502(a)(2) and (a)(3), 29 U.S.C. §§ 1109(a)

 and 1132(a)(2) and (a)(3), Defendants are liable to restore the losses to the Plans caused

 by their breaches of fiduciary duties alleged in this Count and to provide other equitable

 relief as appropriate.




                                                30
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 31 of 41 PageID #: 31




                                           COUNT III

                                Failure to Monitor Fiduciaries

                 (Breaches of Fiduciary Duties in Violation of ERISA § 404
                by Humana, Defendant Bloem and the Director Defendants)

         105.    Plaintiff incorporates the allegations contained in the previous paragraphs

 of this Complaint as if fully set forth herein.

         106.    This Count alleges fiduciary breach against the following Defendants:

 Humana, Defendant Bloem and the Director Defendants (the “Monitoring Defendants”).

         107.    As alleged above, during the Class Period the Monitoring Defendants

 were named fiduciaries pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or de

 facto fiduciaries within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or

 both. Thus, they were bound by the duties of loyalty, exclusive purpose, and prudence.

         108.     As alleged above, the scope of the fiduciary responsibilities of the

 Monitoring Defendants included the responsibility to appoint, and remove, and thus,

 monitor the performance of other Plan fiduciaries, including the Plan Committee

 Defendants.

         109.    Under ERISA, a monitoring fiduciary must ensure that the monitored

 fiduciaries are performing their fiduciary obligations, including those with respect to the

 investment and holding of plan assets, and must take prompt and effective action to

 protect the plan and participants when they are not.

         110.    The monitoring duty further requires that appointing fiduciaries have

 procedures in place so that on an ongoing basis they may review and evaluate whether the

 “hands-on” fiduciaries are doing an adequate job (for example, by requiring periodic




                                                   31
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 32 of 41 PageID #: 32




 reports on their work and the plan’s performance, and by ensuring that they have a prudent

 process for obtaining the information and resources they need). In the absence of a

 sensible process for monitoring their appointees, the appointing fiduciaries would have no

 basis for prudently concluding that their appointees were faithfully and effectively

 performing their obligations to plan participants or for deciding whether to retain or

 remove them.

        111.     Furthermore, a monitoring fiduciary must provide the monitored

 fiduciaries with complete and accurate information in their possession that they know or

 reasonably should know that the monitored fiduciaries must have in order to prudently

 manage the plan and the plan assets, or that may have an extreme impact on the plan and

 the fiduciaries’ investment decisions regarding the plan.

        112.     Here, the Monitoring Defendants breached their fiduciary monitoring

 duties by, among other things, (a) failing to ensure that the monitored fiduciaries had

 access to knowledge about the Company’s business problems alleged above, which made

 Humana stock an imprudent retirement investment, and (b) failing to ensure that the

 monitored fiduciaries appreciated the huge and unjustified risk of significant investment

 loss by rank and file employees in their Plan accounts.

        113.     In addition, the Monitoring Defendants, in connection with their

 monitoring and oversight duties, were required to disclose to those they monitored

 accurate information about the financial condition and practices of Humana that they

 indisputably knew or should have known, that the monitored Plan fiduciaries needed to

 make sufficiently informed fiduciary investment decisions.      By remaining silent and




                                              32
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 33 of 41 PageID #: 33




 continuing to conceal such information from the other fiduciaries, the Monitoring

 Defendants breached their fiduciary duties under the Plan and ERISA.

         114.    The Monitoring Defendants are liable as co-fiduciaries because they

 knowingly participated in the fiduciary breaches by the monitored Defendants, they

 enabled the breaches by these Defendants and they had knowledge of these breaches, yet

 did not make any effort to remedy the breaches.

         115.    As a direct and proximate result of the breaches of fiduciary duties alleged

 herein, the Plans, and indirectly Plaintiff and the Plans’ other participants and

 beneficiaries, lost a significant portion of their retirement investment.

         116.    Pursuant to ERISA §§ 409 and 502(a)(2) and (a)(3), 29 U.S.C. §§ 1109(a)

 and 1132(a)(2) and (a)(3), the Monitoring Defendants are liable to restore the losses to the

 Plans caused by their breaches of fiduciary duties alleged in this Count and to provide

 other equitable relief as appropriate.

                                           COUNT IV

                         Breach of Duty to Avoid Conflicts of Interest

        (Breaches of Fiduciary Duties in Violation of ERISA §§ 404 and 405 by All
                                       Defendants)

         117.    Plaintiff incorporates the allegations contained in the previous paragraphs

 of this Complaint as if fully set forth herein.

         118.    At all relevant times, as alleged above, all Defendants were fiduciaries

 within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).

         119.    ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), imposes on a plan

 fiduciary a duty of loyalty, that is, a duty to discharge his/her duties with respect to a plan




                                                   33
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 34 of 41 PageID #: 34




 solely in the interest of the participants and beneficiaries and for the exclusive purpose of

 providing benefits to participants and its beneficiaries.

        120.     Defendants breached their duty to avoid conflicts of interest and to

 promptly resolve them when they occurred by (i) failing to engage independent fiduciaries

 and/or advisors who could make independent judgments concerning the Plans’ investment

 in Humana stock and the information provided to participants and beneficiaries

 concerning it, (ii) failing to notify appropriate federal agencies, including the DOL, of the

 facts and transactions which made Humana stock an unsuitable investment for the Plans;

 (iii) failing to take such other steps as were necessary to ensure that Plans’ participants’

 interests were loyally and prudently served in order to prevent drawing attention to the

 Company’s inappropriate business activities; and (iv) by otherwise placing the interests of

 the Company and themselves above the interests of the participants with respect to the

 Plans’ investment in Humana stock.

        121.     As a direct and proximate result of the breaches of fiduciary duties alleged

 herein, the Plans, and indirectly Plaintiff and the Plans’ other participants and

 beneficiaries, lost a significant portion of their retirement investments.

         122.    Pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2) and ERISA § 409,

 29 U.S.C. § 1109(a), Defendants named in this Count are liable to restore the losses to the

 Plans caused by their breaches of fiduciary duties alleged in this Count.




                                               34
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 35 of 41 PageID #: 35




                                           COUNT V

                                     Co-Fiduciary Liability

           (Breaches of Fiduciary Duties in Violation of ERISA §§ 404 and 405
               by Humana, Defendant Bloem and the Director Defendants)

         123.     Plaintiff incorporates the allegations contained in the previous paragraphs

 of this Complaint as if fully set forth herein.

          124.    This Count alleges co-fiduciary liability against the following Defendants:

  Humana, Defendant Bloem and the Director Defendants (the “Co-Fiduciary

  Defendants”).

         125.     As alleged above, during the Class Period the Co-Fiduciary Defendants

 were named fiduciaries pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or de

 facto fiduciaries within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or

 both. Thus, they were bound by the duties of loyalty, exclusive purpose, and prudence.

         126.     As alleged above, ERISA § 405(a), 29 U.S.C. § 1105, imposes liability on

 a fiduciary, in addition to any liability which he or she may have under any other

 provision, for a breach of fiduciary responsibility of another fiduciary with respect to the

 same plan if it knows of a breach and fails to remedy it, knowingly participates in a

 breach, or enables a breach. The Co-Fiduciary Defendants breached all three provisions.

         127.     Knowledge of a Breach and Failure to Remedy: ERISA § 405(a)(3), 29

 U.S.C. § 1105, imposes co-fiduciary liability on a fiduciary for a fiduciary breach by

 another fiduciary if, that fiduciary has knowledge of a breach by such other fiduciary,

 unless it makes reasonable efforts under the circumstances to remedy the breach. Here,

 Humana, Defendant Bloem and the Director Defendants knew of the breaches by the other

 fiduciaries and made no efforts, much less reasonable ones, to remedy those breaches.



                                                   35
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 36 of 41 PageID #: 36




        128.     Humana, through its officers and employees, engaged in inappropriate

 business practices, withheld material information from the market, provided the market

 with misleading disclosures, and profited from such practices, and, thus, knowledge of

 such practices is imputed to Humana as a matter of law.

        129.     Defendant Bloem as well as the Director Defendants, by virtue of their

 positions at Humana, participated in and/or knew about the Company’s inappropriate

 business practices, and their consequences, including the artificial inflation of the value of

 Humana stock.

        130.     Because Humana, Defendant Bloem and the Director Defendants knew of

 the Company’s improper business practices, they also knew that the Plan Committee

 Defendants were breaching their duties by continuing to invest the Plans’ assets in

 Humana stock when it was no longer prudent to do so, and providing incomplete and

 inaccurate information to Plans’ participants. Yet, Humana, Defendant Bloem and the

 Director Defendants failed to undertake any effort to remedy these breaches. Instead, they

 compounded them by obfuscating the risk that the Company’s improper business activities

 posed to Humana, and, thus, to the Plans.

        131.     Knowing Participation in a Breach: ERISA § 405(a)(1), 29 U.S.C. §

 1105(1), imposes liability on a fiduciary for a breach of fiduciary responsibility of another

 fiduciary with respect to the same plan if it participates knowingly in, or knowingly

 undertakes to conceal, an act or omission of such other fiduciary, knowing such act or

 omission is a breach. Humana knowingly participated in the fiduciary breaches of the

 Plan Committee Defendants in that it benefited from the sale or contribution of its stock at

 artificially inflated prices. Humana also, as a de facto fiduciary, participated in all aspects




                                               36
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 37 of 41 PageID #: 37




 of the fiduciary breaches of the other Defendants. Likewise, Defendant Bloem and the

 Director Defendants knowingly participated in the breaches of the Plan Committee

 Defendants because, as alleged above, they had actual knowledge of the Company’s

 improper conduct and yet, ignoring their oversight responsibilities, permitted the Plan

 Committee Defendants to breach their duties.

        132.     Enabling a Breach. ERISA § 405(a)(2), 29 U.S.C. § 1105(2), imposes

 liability on a fiduciary if by failing to comply with ERISA § 404(a)(1), 29 U.S.C.

 §1104(a)(1), in the administration of his specific responsibilities which give rise to his

 status as a fiduciary, he has enabled another fiduciary to commit a breach.

        133.     Humana’s, Defendant Bloem’s and the Director Defendants’ failure to

 monitor the Plan Committee Defendants enabled those committees to breach their duties.

        134.     As a direct and proximate result of the breaches of fiduciary duties alleged

 herein, the Plans, and indirectly Plaintiff and the Plans’ other participants and

 beneficiaries, lost a significant portion of their retirement savings.

         135.    Pursuant to ERISA §§ 409 and 502(a)(2) and (a)(3), 29 U.S.C. §§ 1109(a)

 and 1132(a)(2) and (a)(3), the Co-Fiduciary Defendants are liable to restore the losses to

 the Plans caused by their breaches of fiduciary duties alleged in this Count and to provide

 other equitable relief as appropriate.

                                          CAUSATION

         136.    The Plans suffered millions of dollars in losses because a significant

  percentage of the Plans’ assets was imprudently invested or allowed to be imprudently

  invested by Defendants in Humana stock during the Class Period, in breach of

  Defendants’ fiduciary duties. This loss was reflected in the diminished account balances

  of the Plans’ participants.


                                                37
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 38 of 41 PageID #: 38




         137.    Defendants are liable for the Plans’ losses in this case because Defendants

 failed to take the necessary and required steps to ensure effective and informed

 independent participant control over the investment decision-making process, as required

 by ERISA § 404(c), 29 U.S.C. § 1104(c), and the regulations promulgated thereunder.

 Defendants withheld material, non-public facts from the Plans’ participants, and provided

 inaccurate and incomplete information to them regarding the true health and ongoing

 profitability of Humana, and its soundness as an investment vehicle. As a consequence,

 the Plans’ participants did not exercise independent control over their investments in the

 Humana stock, and Defendants remain liable under ERISA for losses caused by such

 investment.

        138.     Had Defendants properly discharged their fiduciary duties, including the

 provision of full and accurate disclosure of material facts concerning investment in

 Humana stock, eliminating Humana stock as the primary investment alternative when it

 became imprudent, and divesting the Plans of their holdings of Humana stock when

 maintaining such an investment became imprudent, the Plans would have avoided a

 substantial portion of the losses that they suffered through their continued investment in

 Humana stock.

                 REMEDY FOR BREACHES OF FIDUCIARY DUTY

         139.    Defendants breached their fiduciary duties in that they knew or should

 have known the facts as alleged above, and therefore knew or should have known that the

 assets of the Plans should not have been so heavily invested in Humana equity during the

 Class Period.




                                             38
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 39 of 41 PageID #: 39




         140.    As a consequence of the Defendants’ breaches, the Plans suffered

 significant losses.

        141.     ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2) authorizes a plan participant to

 bring a civil action for appropriate relief under ERISA § 409, 29 U.S.C. § 1109. Section

 409 requires “any person who is a fiduciary . . . who breaches any of the . . . duties

 imposed upon fiduciaries . . . to make good to such plan any losses to the plan.. …”

 Section 409 also authorizes “such other equitable or remedial relief as the court may deem

 appropriate. …”

        142.     With respect to calculation of the losses to the Plans, breaches of fiduciary

 duty result in a presumption that, but for the breaches of fiduciary duty, the Plans would

 not have made or maintained its investments in the challenged investment and, where

 alternative investments were available (as they were here, in the equities of other

 Companies), that the investments made or maintained in Humana stock would have

 instead been made in the most profitable alternative investment available. In this way, the

 remedy restores the Plans’ lost value and puts the participants in the position they would

 have been in if the Plans had been properly administered.

        143.     Plaintiff and the Class are therefore entitled to relief from the Defendants

 in the form of: (i) a monetary payment to the Plans to make good to the Plans the losses to

 the Plans resulting from the breaches of fiduciary duties alleged above in an amount to be

 proven at trial based on the principles described above, as provided by ERISA § 409(a),

 29 U.S.C. § 1109(a); (ii) injunctive and other appropriate equitable relief to remedy the

 breaches alleged above, as provided by ERISA §§ 409(a) and 502(a)(2) and (3), 29 U.S.C.

 §§ 1109(a) and 1132(a)(2); (iii) reasonable attorney fees and expenses, as provided by




                                              39
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 40 of 41 PageID #: 40




 ERISA § 502(g), 29 U.S.C. § 1132(g), the common fund doctrine, and other applicable

 law; (iv) taxable costs and interests on these amounts, as provided by law; and (v) such

 other legal or equitable relief as may be just and proper.

        144.       Under ERISA, each Defendant is jointly and severally liable for the losses

 suffered by the Plans in this case.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for:

         A.        A Declaration that the Defendants, and each of them, have breached their

 ERISA fiduciary duties to the participants;

         B.        A Declaration that the Defendants, and each of them, are not entitled to

 the protection of ERISA § 404(c)(1)(B), 29 U.S.C. § 1104(c)(1)(B);

         C.        An Order compelling the Defendants to make good to the Plans all losses

 to the Plans resulting from Defendants’ breaches of their fiduciary duties, including

 losses to the Plans resulting from imprudent investment of the Plans’ assets, and to

 restore to the Plans all profits the Defendants made through use of the Plans’ assets, and

 to restore to the Plans all profits which the participants would have made if the

 Defendants had fulfilled their fiduciary obligations;

         D.        Imposition of a Constructive Trust on any amounts by which any

 Defendant was unjustly enriched at the expense of the Plans as the result of breaches of

 fiduciary duty;

         E.        An Order enjoining Defendants, and each of them, from any further

 violations of their ERISA fiduciary obligations;




                                               40
Case 3:08-cv-00236-JGH Document 1 Filed 05/01/08 Page 41 of 41 PageID #: 41




           F.   Actual damages in the amount of any losses the Plans suffered, to be

 allocated among the participants’ individual accounts in proportion to the accounts’

 losses;

           G.   An Order that Defendants allocate the Plans’ recoveries to the accounts of

 all participants who had their accounts invested in the common stock of Humana

 maintained by the Plans in proportion to the accounts’ losses attributable to the

 precipitous decline in the stock of Humana equity;

           H.   An Order awarding costs pursuant to 29 U.S.C. § 1132(g);

           I.   An Order awarding attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and

 the common fund doctrine; and

           J.   An Order for equitable restitution and other appropriate equitable and

 injunctive relief against the Defendants, including appropriate modifications to the Plans

 to ensure against further violations of ERISA.

 DATED: May 1, 2008                   JOHNSON, TRUE & GUARNIERI, LLP


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                                            41
